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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION
__________________________________________
                                           )
EXXON MOBIL CORPORATION,                   )
                                           )
                  Plaintiff,               )
            v.                             ) 4:10-CV-02386 (LHR)
                                           ) 4:11-CV-01814 (LHR)
UNITED STATES OF AMERICA,                  )
                                           )
                  Defendant.               )
                                           )

  DEFENDANT UNITED STATES OF AMERICA’S RESPONSES TO PLAINTIFF’S
   OPPOSITION PROPOSED FINDINGS OF UNDISPUTED MATERIAL FACTS


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         Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Defendant the United States

of America responds as follows to “Plaintiff’s Proposed Findings of Undisputed Material Facts

In Support of Its Response in Opposition to the United States’ Motion for Partial Summary

Judgment on Phase Two Issues” (“Exxon’s Opp. PF” or “Exxon’s Opposition Proposed

Findings”) submitted by Plaintiff Exxon Mobil Corporation (“Exxon”) on March 23, 2018. See

ECF No. 209-2 in Case No. 4:10-CV-02386, and ECF No. 140-2 in Case No. 4:11-CV-01814. 1

         In response to Exxon’s Opposition Proposed Findings, where the United States disputes

or partially disputes a proposed finding, the United States has: (1) summarized the grounds

supporting the dispute; (2) made reference to a pertinent paragraph of a sworn affidavit of a

United States expert witness, an expert report, and/or a supporting document; 2 and/or (3) made

reference to pertinent pages or paragraphs of the United States’ Memorandum in Support of

Motion for Summary Judgment on Phase II Issues (“U.S. Mot.”); Opposition to Exxon’s Motion

for Partial Summary Judgment on Phase II Issues (“U.S. Opp.”); Statement of Undisputed Facts

in Support of Partial Summary Judgment on Phase Two Issues (“U.S. SOF”); the United States

Responses to Plaintiff’s Proposed Findings of Undisputed Material Facts (“U.S. Resp. to Exxon

PF”); or other enumerated Responses within this filing (“U.S. Resp. to Exxon Opp. PF”), that

show the basis for the dispute. See ECF Nos. 202-1, 202-2, 212, and 212-2 in Case No. 4:10-

CV-10-2386, and ECF Nos. 133-1, 133-2, 142, and 142-2 in Case No. 4:11-CV-01814.

References to “U.S. Ex.” are to the United States’ Phase II exhibits filed in support of the United

States’ Motion for Partial Summary Judgment on Phase Two Issues and in support of the United



1
  For the Court’s convenience, the United States copied Exxon’s Opposition Proposed Findings,
though some of the formatting may not appear exactly as in Exxon’s filing. The United States
did not copy schematics, diagrams, or footnotes included in Exxon’s Opposition Proposed
Findings.
2
    References to documents submitted by Exxon in its Appendix are cited as “A#”.
                                                 1
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States’ Opposition to Exxon’s Consolidated Motion for Summary Judgment as to Phase 2 Cost

and Allocation Issues. References to “Exxon Ex.” are to exhibits filed by Exxon in support of its

Consolidated Motion for Summary Judgment as to Phase 2 Cost and Allocation Issues.

       In several of its Proposed Findings, Exxon has referred to its experts as having a

particular expertise. The United States reserves the right to challenge the qualifications of

Exxon’s experts at the appropriate time. Additionally, any statement not expressly addressed is

disputed.

       1.      Various, wartime-era news articles by The Oil & Gas Journal, such as, for
example, “How One Company’s Whole Refining Capacity Was Turned to War” and “Largest
U.S. Refinery Incorporates Many War Operations”, chronicled how the Baytown Facility
was greatly expanded with the construction of many new or modified process units to
convert the Facility into a war production plant to greatly increase avgas and other war
products production. A010407; A010410.

PARTIALLY DISPUTED. The articles speak for themselves. To the extent Exxon implies
that that the articles state that the Baytown Facility was greatly expanded during wartime
and not before, the United States disputes that implication. One of the articles states that
by the time of Pearl Harbor, “[p]rocesses for the manufacture of synthetic toluene and
high-octane aviation gasoline in great quantities had already been perfected, and synthetic
rubber from petroleum was about to emerge from the laboratory.” A10407. Additionally,
the articles do not support the implication that all production was for the war effort.

       2.       The regular telegrams sent by the PAW to individual refineries, such as
the Baytown and Baton Rouge refineries, often directed the refineries to increase and
maximize the production of not only avgas, but also lower grades of avgas, such as 91-octane
avgas, 87-octane avgas, and other types of avgas, and increase the production of avgas
components and intermediates. A000408-A000409; A000410; A000411-A000413; A000414-
A000415; A000591-A000592.

PARTIALLY DISPUTED. The cited telegrams speak for themselves. In particular, they
are addressed to groups of refineries, not individual refineries. See also U.S. Resp. to
Exxon PF ¶ 82.
        3.       Both parties’ technical experts, including Government expert Dr. James
Kittrell and Exxon experts Messrs. David Lerman and Jere Johnson, concurred that gas oils
that result from the processing of the crude oil in the distillation units were further processed
in the FCC units to produce avgas components for additional avgas production. Ex. 9, Att. B,
Lerman 2015 Rpt. at 22; Ex. 8, Att. B, J. Johnson 2012 Rpt. at 16–17; Gov. Ex. 18, Expert
Rebuttal Report of Dr. James R. Kittrell (Sep. 22, 2016) at 43.


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PARTIALLY DISPUTED. The cited expert reports speak for themselves. Additionally,
the term “gas oil” is a generic term for intermediate refinery products. Some refinery
intermediates could have been used for feed stock to the FCC Unit, while others were not.
Additionally, the United States disputes that light gas oils were substantially produced
from crude oil that was processed in the Exxon refineries. Instead, some light gas oils
processed in the FCC Units were obtained as shipments from other refineries, and were
not derived from the distillation or cracking of crude oil in Exxon refineries. U.S. Ex. 18,
Dr. James R. Kittrell Supplemental Report 11, 23, Appendix 2 (Sept. 2016).
Furthermore, the phrase “additional avgas production” is vague and ambiguous. Exxon
does not specify whether the phrase means in addition to that produced before the war,
before the installation of the FCC Units, or during some other time period.

        4.       According to the treatise The History of Humble Oil & Refining Co., the
Baytown Refinery “produced for military use tremendous quantities of other gasolines, fuel
oils, lubricants, asphalt for airplane runways, fuel for flame throwers and smoke screens, and
scores of other products”. A010414.

PARTIALLY DISPUTED. The quoted document speaks for itself. The document goes on
to state, “And in addition to its manufacture for direct use by the armed forces, it
provided greater quantities of products for war industry and for countless civilian needs.”
A010414.

       5.       According to an internal, wartime Baytown refinery memorandum, “Baytown
has supplied considerable quantities of refined products for our Allies under the Lend-Lease
program which have been purchased through the Navy. These products include motor
gasoline, burning oil, vaporizing oil, gas oil, diesel fuel, lubricating oil and bunker fuel oil.”
A000396.

PARTIALLY DISPUTED. The quoted document speaks for itself. The document goes on
to state, “This Lend-Lease business is dependent on competitive bidding with the resultant
allocation to Baytown being irregular and unpredictable.” A000396.

        6.       Most of the alkylate – an avgas component – produced by the Baton
Rouge refinery was shipped to other refineries; for example, a 1944 Baton Rouge document
indicated that the refinery would produce 12,030 B/D of alkylate, but ship 8,000 B/D of
this alkylate to other refineries. A010416.

PARTIALLY DISPUTED. The quoted document speaks for itself. Notably, the
document provides information for one month only—July 1944, and does not support the
statement that “most of the alkylate . . . was shipped to other refineries.” The United
States does not dispute that Exxon shipped some amount of alkylate from the Baton
Rouge refinery, but the United States disputes any implication that the alkylate shipped
from the Exxon refineries was manufactured exclusively from raw materials originating
as crude oil processed in the Exxon refineries. U.S. Ex. 19, Dr. James Kittrell
Supplemental Expert Report at 15, 20, 31 (Apr. 2013); see also U.S. Ex. 18, Kittrell 2016

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Supplemental Report at 20 (reflecting that 4,545 b/d of alkylate was required for the
production of avgas and all of that alkylate was derived from imported stocks).

       7.      Humble acknowledged that the entire Baytown refinery was converted to
 war products production during WWII, stating in a 1943 internal memorandum the following:
               At first glance it might appear that this represents less than
               one- third conversion to the manufacture of war products but
               this is hardly true, since, in order that these war products be
               made, it is unavoidable that other products, such as motor
               gasoline, kerosene, heating oil, and residual fuel oil, be made
               as byproducts. . . . The current production of war products
               represents essentially 100% conversion since all of the crudes
               and other raw materials taken into the refinery are run
               specifically for the production of one or more war products.
               Should any of the crudes be reduced in quantity, the output of
               war products would suffer. Specific records of all other
               refineries are not available but, based on such information as
               is available, it appears that the Humble’s Baytown refinery is
               making more war products than any other refinery in this
               country either in terms of the percentage of these products on
               the refinery input or in terms of total volume. A000395.

PARTIALLY DISPUTED. The quoted document speaks for itself. The United States
disputes that the Baytown refinery was “converted to war products production.” See U.S.
Resp. to Exxon PF ¶¶ 4, 104, 109-10.

        8.      All of the byproducts of crude distillation for avgas production identified in
the production output schematic set forth in a June 1943 report titled “Data on War
Projects” that Humble submitted to the Government as part of a Government inspection
of the Baytown Facility were either war products or raw materials used to produce war
products (collectively for this proposed fact “war products”) for the Government’s war
effort. A000890; see PF ¶ 94. Some of the key factual bases establishing that these
byproducts were war products for the Government is summarized below:

                a.     Gas (Refinery Fuel) – 12.9% product output: This was a war
                       product because it was used as fuel to run the crude distillation and
                       other process units that were operated to produce avgas and other war
                       products; in fact, both a 1939 and 1945 Baytown refinery flow
                       diagram indicates this as well. A000890; A010417; Ex. 9, Att. B,
                       Lerman 2015 Rpt. at 10 (Figure 2).

                b.     Residual Fuel Oil – 10.6% product output: This was a war product
                       because PAW regularly directed the Baytown and Baton Rouge
                       refineries to produce maximum quantities of residual fuel oil, PF ¶
                       130.d, and a Government report identified it as a “product[] for
                       war”, stating further that “[r]esidual fuel oil, the heavy oil that is used

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                primarily for industrial and railroad purposes, and for bunkering
                those ships not designed for Navy Special, fluctuated continually
                throughout the war from a position of feast to one of famine. . . .
                Frequent changes in refinery yields had to be made, therefore, to deal
                with the residual situation; now more, now less as the war situation
                varied.” PF ¶ 136.


          c.   Unfinished Lube Distillates – 2.1% product output, Lube Oils –
               1.0% product output, and Military Lubes – 2.5% product output:
               These were war products because PAW regularly directed the
               Baytown and Baton Rouge refineries to produce maximum quantities
               of these products, PF ¶ 130.b, and a Government report identified
               them as “products for war,” stating further that “[l]ate in 1942, when
               PAW received the military requirements for aviation engine oils and
               for heavy duty engine oils for ground and marine equipment, it was
               immediately evident that they could not be filled without seriously
               jeopardizing the supply of essential industrial and transportation
               lubricants. A lubricating oil advisory committee was appointed by
               PAW to work with it in meeting the situation. . . . As a result, all
               military and essential industrial requirements for aviation engine and
               heavy duty oils were filled when needed.” PF ¶ 138.

          d.   Gas Oils – 10.7% product output: This was a war product because
               the parties’ technical experts agreed that gas oils were further processed
               in the FCC units for the production of avgas and avgas components,
               RF ¶ 3; in fact, separate, wartime refinery flow diagrams for both the
               Baytown and Baton Rouge refineries depict that the gas oils from the
               crude distillation units were sent to the FCC units for processing into
               avgas components. A000913; A010417. In addition, a Government
               report identified gas oils as one of the “products for war”, stating
               further that “[o]ne of the factors that made for uphill going was the
               fact that the charging stock, or raw materials, used in the catalytic
               cracking units is a middle-of-the-barrel product, known as gas oil,
               and gas oil ordinarily is part of the blend in heating oil. These
               catalytic crackers, together with certain reforming units, supplied
               base stock for avgas, butadiene for synthetic rubber, and toluene for
               TNT; and so, obviously the requirements for feed stock for them
               became progressively higher.” PF ¶ 135. The Baytown refinery also
               supplied a substantial amount of gas oils to the U.S. Navy for the
               Allied Forces under the Land-Lease Program. A000396.

          e.   Heating Oils – 5.4% product output: A Government report
               identified heating oil as one of the “products for war”, stating
               further that “[a]lthough generally speaking, supplies were
               consistently tight nation- wide, the Government-industry team was
               able throughout the war to meet all military and essential civilian

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                      requirements for distillates; the so-called ‘middle of the barrel’
                      products, such as household heating oil, kerosene, and tractor fuels.”
                      PF ¶ 137.

               f.     Navy Diesel Fuel – 1.9% product output: This was a war product
                      because PAW regularly directed the Baytown and Baton Rouge
                      refineries to produce maximum quantities of this product, PF ¶
                      130.c, and a Government report identified it as one of the “products
                      for war,” stating further that “[t]he vastly expanding naval action in
                      all parts of the world created a heavy demand for special high-cetane
                      Diesel fuel oil.” PF ¶ 134. “This fuel was used in submarines, LST’s
                      and in several other types of equipment.” A000208. The Baytown
                      refinery also supplied a substantial amount of diesel fuel to the U.S.
                      Navy for the Allied Forces under the Land-Lease Program. A000396.

               g.     Toluene and Xylene – 3.3% product output: These were war
                      products because PAW regularly directed the Baytown and Baton
                      Rouge refineries to produce maximum quantities of these products. PF ¶
                      130.f. Xylene was an essential avgas component, Ex. 5, Att. C, Beath
                      2014 Supp. Rpt. at 7, Ex. 8, Att. B, J. Johnson 2012 Rpt. at 44, 59,
                      and a Government report identified toluene as one of the “products for
                      war”. A000209.

               h.     Gasoline – 17.9% product output: This was a war product because
                      PAW regularly directed the Baytown and Baton Rouge refineries to
                      produce maximum quantities of this product, PF ¶ 130.g; in fact, in
                      one telegram PAW compared the critical need for ample supplies of
                      gasoline to avgas, stating that “[n]o compromise can be made with
                      the requirements of the ground forces, since in the last analysis, it is
                      just as important that the ground forces have motor fuel as it is for
                      the air services to have aviation gasoline.” PF ¶ 133 (emphasis
                      omitted). In addition, a Government report identified gasoline as one
                      of the “products for war”, stating further that “[i]f 100-octane
                      aviation gasoline was the war’s No. 1 glamor product, there is no
                      question that 80-octane all-purpose gasoline was the No. 1 ‘jack of
                      all trades.’” This gasoline was specifically tailored for military use
                      and “in March 1942, the Army made it known that it must have a very
                      special kind of 80-octane, usable in all climates and temperatures.” PF
                      ¶132. The Baytown refinery also supplied a substantial amount of
                      motor gasoline to the U.S. Navy for the Allied Forces under the
                      Land-Lease Program. A000396.

PARTIALLY DISPUTED. The United States does not concede that the term “byproducts”
accurately describes the status of products other than avgas. See U.S. Resp. to Exxon PF ¶
94; U.S. Ex. 20, Dr. James R. Kittrell Rebuttal Report 16-18 (Nov. 2012); U.S. Ex. 21, Dr.
James R. Kittrell Expert Report 22 (Aug. 2012). Additionally, “gas” is not a product at all.

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It is a raw material, and is part of a category called “gas/losses,” part of which is the gas
used to fuel the refinery. The “losses” is the difference between the charge to the refinery
and the finished product. As used in the citations by Exxon, “gas” does not include
“losses.” See U.S. Ex. 294, John M. Beath Supplemental Expert Report 27-28 (Nov. 6,
2014). Moreover, the cited documents speak for themselves. The United States disputes
the relevance of any labels applied to certain products. See, e.g., U.S. Ex. 159, Production
of War Products at Humble Oil & Refining Company’s Baytown Refinery, BAYHIS-
00024502 at 00024503 (Feb. 1943) (motor gasoline, kerosene, heating oil, and residual fuel
oil “are not classified as war products” but “are nevertheless playing an important part in
the nation’s war economy”). See U.S. Resp. to Exxon PF ¶¶ 94, 130-40; see also U.S. Resp.
to Exxon Opp. PF ¶ 3 (gas oil). Although portions of the above-listed products may have
been sold to the government or used to make products sold to the government, the United
States disputes that the entirety of these products should be included in the cost pool for
allocation at Step 2. See U.S. Mot. at 58, 62-63; U.S. Opp. at 40, 57-61.

         9.      On November 28, 1945, A. P. Frame, who was the Director of the
 Refining Division for PAW, made a statement in a hearing before the Special Committee
 Investigating Petroleum Resources of the United States Senate regarding “wartime petroleum
 policy under the Petroleum Administration for War”, and as part of that statement, Mr. Frame
 stated the following regarding the petroleum industry during the war:
         It had met every demand of the military for all kinds of petroleum products.
         The small refiners as well as the larger ones had been required to utilize their
         productive capacity to the maximum. It had willingly pooled its technical
         know-how, its operating experience, and even its products for the common
         good. It had in effect been operated as if its various refineries were
         component parts of one huge Nation-wide refinery. A010422 (emphasis
         added).

Not Disputed that the document is accurately quoted. But see U.S. Resp. to Exxon
PF ¶¶ 59, 73, 79, 82, 83, 105, 126, 128. See also U.S. Ex. 8, Dr. Jay Brigham Expert
Report 6-8 (Nov. 2012).

        10.     Government expert Dr. Kittrell testified as follows at his deposition regarding
 the lack of factual support for his assumption that imported materials were used first and
 only used for avgas production at the Baytown and Baton Rouge refineries during WWII:
        Q.      What is the basis for your opinion that the refinery would use all the imports
                first before using product from the refinery, per se?
        A.      Again, that the same provision that we talked about for Baton Rouge. These
                were being arranged and imported for a reason. Somebody, PAW or
                somebody, believes that on balance, this imported stock is desired, and the
                two companies agree, whatever the mechanism is, but it’s being imported to be
                used in avgas.
        Q.      Is there any other basis for your opinion on this point?
        A.      Nothing comes to mind at the
                moment. A010429–A010430.

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PARTIALLY DISPUTED. The United States does not dispute that Dr. Kittrell’s testimony
is accurately quoted, but the preceding statement mischaracterizes Dr. Kittrell’s testimony.
Dr. Kittrell testified regarding his reasonable assumption that Exxon likely used imported
avgas blendstocks that were supplied through the Planned Blending Program.
        Q:      While we’re there, let me ask you a question. If you had imported feed and
                you had gas oil coming from the crack, which material would be used first?
       A:       The imported.
       Q:       Why?
       A:       Well, it’s being imported for a reason. There’s no use to import gas oil that
                I’m aware of that would be of interest to the PAW other than to feed it to a
                FCC unit. A thermal cracker is not as efficient as an FCC unit in terms of
                manufacturing products.”
                ....
       Q:       Going back to the question of imported versus using the gas oil from the
                crack feed, what’s the basis for your opinion that they would use the
                imported first over the gas oil from the cracked crude?
       A:       Again, the reason it’s being imported – PAW would have no interest in
                importing a non-avgas material. So the reason it’s being imported is to be
                used, to be cracked into avgas.
U.S. Ex. 287, Dr. James Kittrell Dep. 45, 6-18; 46, 7-16 (Apr. 29, 2015). See also U.S. Ex.
18, Kittrell 2016 Supplemental Report 24-26.

Dr. Kittrell’s assumption is supported by the Planned Blending Program itself.

       Control of 100-octane production was extended and detailed to the point
       where, each month, PAW issued a Planned Blending Schedule, by which
       each refiner was given specific instructions as to the composition of his
       blends, the sources from which he was to obtain components, and to whom
       he was to ship other components – all to the end that the utmost possible
       100-octane could be forced each month from the available facilities.

U.S. Ex. 62, J. Frey & C. Ide, A History of the Petroleum Administration for War, MIS-
00022327-843 at MIS-00022571. See also Phase I Decision at 495; U.S. Resp. to Exxon PF
¶¶ 62, 105, 153.

         11.     During a deposition Dr. Kittrell acknowledged that his calculations and
 tables upon which he based his opinion that approximately 50% of the avgas produced at the
 Baytown and Baton Rouge refineries was produced from imported raw materials did not take
 into account or deduct the raw materials that these refineries were producing and exporting to
 other refineries for avgas production, even raw materials produced by the Baytown refinery
 and shipped to the Baton Rouge refinery, or produced at the Baton Rouge refinery and
 shipped to the Baytown refinery, testifying as follows in a deposition:
         Q.      If the refinery was producing more than 8218 barrels per day of FCC
                 feedstocks, what would the refinery do with the more than 8218 barrels of
                 feedstock that it was producing?

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        A.    It could export them. It could use them in motor gasoline. These aren’t
              prohibited for use in motor gasoline except for the alkylate. It’s not supposed
              to be put in motor gasoline. But it could go to motor gasoline. It could be
              exported, any number of things.
        Q.    So if it was exported and used at another refinery to manufacture a war
              product, how was that taken into account in your table?
        A.    It doesn’t take it into account.
        Q.    Does your table take into account the production of other 100-octane avgas
              products such as 87 or 91 high octane?
        A.    No. As far as component sources, no.
              ..
              ..
        Q.    Does your Table 1.5 assume that none of these designated feeds or the
              products from these feeds are transferred to other refineries?
        A.    It doesn’t assume any disposition of those.
        Q.   So it doesn’t address the potential transfer of war products made from these
              feeds to other refineries?
        A.    No. That presumably would be relevant to their avgas contract, not dealing
              with the avgas manufactured at these two individual refineries.
        Q.    Does it assume the transfer of product between Baytown and Baton Rouge
              and vice versa?
        A.    It doesn’t assume anything, but the inputs available for imported materials
              could have come from the other refinery. I didn’t segregate it in that fashion.
              These are simply inputs. In fact, I’m quite sure some of the codimer inputs
              into Baytown originated at Baton Rouge, but I haven’t isolated that as a
              separate metric.
        Q.    You don’t isolate as a separate metric the potential transfer of product
              from Baytown to Baton Rouge?
        A.    No. I’m making avgas blends for each individual refinery. There are inputs
              and outputs. There are inputs from either refinery, and those are all taken into
              account. But I don’t make any other separate calculations for that.
        Q.    So you also don’t take into account the metric of transferring from Baytown
              to Baton Rouge any products that are transferred from Baytown to Baton
              Rouge?
        A.    I do. I just don’t identify them separately. Any imports coming into Baytown
              are included in the import statistics that we’re using for availability of these
              stocks from whatever source, including Baton Rouge.

        A010425–A010428.

PARTIALLY DISPUTED. The United States does not dispute that Dr. Kittrell’s testimony
is accurately quoted, but the United States disputes the preceding statement as irrelevant.
The entire line of questioning was based on a hypothetical—that the refineries were
producing more FCC feedstocks than necessary and so exporting those feedstocks. Thus,
the hypothetical scenario was not addressed in the Table at issue. Moreover, Dr. Kittrell
considered the fact that Exxon produced and shipped some avgas components to non-Exxon

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refineries. U.S. Ex. 19, Kittrell 2013 Supplemental Report, Appendix 2. Even with that
consideration, Dr. Kittrell concluded that about half of the avgas produced during World
War II was produced from imported raw materials. U.S. Ex. 21, Kittrell 2012 Report 38.

        12.     Refinery operations expert Mr. Lerman opined, in part, as follows regarding
 the “hierarchical rule” of Government expert Dr. Kittrell:
        Dr. Kittrell’s methodology applies a hierarchical rule where he assumes the
        refineries use any materials imported into Baytown and Baton Rouge
        preferentially to produce avgas versus any other normal use within the
        refinery. This hierarchical rule has no basis, and is inconsistent with actual
        refinery practices. As Dr. Kittrell admitted during his deposition, he had no
        documents or other evidence to show that the Baytown and Baton Rouge
        refineries preferentially used imports in the production of avgas. Ex. 9, Att.
        B, Lerman 2015 Rpt. at 24; see also id. at 25-29.

PARTIALLY DISPUTED. The quoted expert report speaks for itself. Because the
statement does not ask the United States to accept the accuracy of the statement, a more
detailed response is not required. Nevertheless, the United States disputes its content. Dr.
Kittrell made no such admission, nor did he use the term “hierarchical rule.” See U.S.
Resp. to Exxon Opp. PF ¶¶ 10-11.

        13.    According to refinery operations expert Mr. John Beath, to the extent that any
natural gasoline was used to make war products, it would had to have been processed in the light
ends fractionation unit which also generated additional waste. Ex. 5, Att. C, Beath 2014 Supp.
Rpt. at 5.

PARTIALLY DISPUTED. The cited expert report speaks for itself. Because the
statement does not ask the United States to accept the accuracy of the statement, a more
detailed response is not required. Nevertheless, the United States disputes its content.
Exxon’s own data shows that waste generated by the light ends fractionation unit was
minimal compared to that generated by the crude oil and cracking department. See U.S.
Ex. 20, Kittrell 2012 Report at 27-29.

         14.   According to refinery operations expert Mr. Lerman, because the avgas
 component – hydrocodimer - was so much in demand during the war, significant amounts
 of hydrocodimer manufactured on-site at the Baytown or Baton Rouge refineries were
 actually exported to other refineries for avgas production there. Ex. 9, Att. B, Lerman 2015
 Rpt. at 29- 30.

 PARTIALLY DISPUTED. The cited expert report speaks for itself. Because the
 statement does not ask the United States to accept the accuracy of the statement, a more
 detailed response is not required. Note, however, that the pages cited and attributed to
 Mr. Lerman do not address the production or export of hydrocodimer. Nevertheless,
 although the United States acknowledges that some hydrocodimer was exported to other
 refineries, Mr. Lerman did not define the term “significant amounts.” Additionally, the
 Planned Blending Program required shipments of codimer from other refineries to the
 Baton Rouge refinery, thereby enabling the production of critical high-octane blending
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 agencies without any significant contribution of waste in the refinery. U.S. Ex. 19,
 Kittrell 2013 Report at 25-27.

         15.      As summed up by Mr. Lerman, the use of any imported raw materials at
 the Baytown and Baton Rouge refineries “do not translate into waste reductions when the
 refineries still had to process their entire crude allocations each month and at the same time
 process and blend additional other raw materials . . . . on the contrary, the amount of waste
 increases.” Ex. 9, Att. B, Lerman 2015 Rpt. at 6, 7, 9.

DISPUTED. The quoted expert report speaks for itself. Because the statement does not
ask the United States to accept the accuracy of the statement, a more detailed response is
not required. Nevertheless, Mr. Lerman’s opinion is without basis in fact. U.S. Ex. 18,
Kittrell 2016 Report at 23-34.

         16.    According to refinery operations expert Mr. J. Johnson, the Hydrocodimer
 Plancor 1909 at the Baytown Facility increased overall waste volumes because it
 generated wastewaters containing spent caustics, sulfides, mercaptans and ammonia. Ex.
 8, Att. B, J. Johnson 2012 Rpt. at 69.

PARTIALLY DISPUTED. Plancor 1909 contributed de minimis amounts of waste to the
site. U.S. Ex. 21, Kittrell 2012 Report at 51-52. The Plancor operated from August 1944 to
August 1945. Much of the codimer and catalytic base stock hydrogenated at this plant was
produced at other refineries and imported to Baytown for hydrogenation. See U.S. Resp.
to Exxon PF ¶ 14. See also U.S. Ex. 20, Kittrell 2012 Report at 61; U.S. Ex. 287, Dr. James
Kittrell Dep. 184:1-10 (Apr. 29, 2015).

        17.      One of the two sources of historical information relied upon by
Government expert Mr. Matthew Low for his third “alternative surrogate[] at Baytown”,
which proposed surrogate was purported reductions in “oil and grease figures” of only 49%,
Govt. Memo. at 57 n.31, was Table II in a 1952 Humble report regarding the nature of its
ongoing Effluent Improvement Program at the Baytown refinery. A02347-A02390. However,
the historical data set forth in this table and related historical data do not support Mr. Low’s
49% figure, and in fact establish that the reductions in oil concentrations and total oil content in
the wastewater effluent at the Baytown refinery were significantly greater. Specifically, Table
II in this 1952 Humble report indicates that at the beginning of the Baytown refinery’s effluent
improvement program in the late-1940s the average oil content concentrations in the
refinery’s wastewater effluent was 181 ppm, but Table II further indicates that the oil
content concentrations in the effluent had been reduced to 38 ppm by 1951, and estimated that
the oil content concentrations in the effluent would be reduced to 20 ppm by the end of the
program. A002362. Therefore, in the approximate four-year period of 1947 to 1951 the
Baytown refinery had already reduced the oil content concentrations in the wastewater effluent
by approximately 80% (i.e., oil content reduced from 181 ppm to 38 ppm), and Humble
estimated significant additional oil content reductions to approximately 90% in the next six
years of the program. Further, other subsequent historical data compiled by Humble
engineers show that between 1947 and 1957 the Baytown refinery actually reduced the oil
content concentrations in the wastewater by 95%, and the total oil content in the

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wastewater by greater than 97%. PF ¶¶ 402, 415.

DISPUTED. First, Mr. Low did not propose a “third alternative surrogate.” The
reference is not to any statement or calculation made by Mr. Low or “alternative
surrogate” proposed by Mr. Low, but to a footnote in the United States’ brief which simply
demonstrates, based on other available data, that Mr. White’s waste adjustment
multipliers greatly overestimate the response cost impact of Exxon’s waste improvement
program on the sludge and waste impoundments, discharge ditches, and groundwater
plumes that are the subject of Exxon’s claim.

       The 49% refers to reductions in oil and grease at the main discharge outfall and not
to any waste reductions in sludge impoundments or groundwater plumes that are the
subject of Exxon’s claims at Baytown. Mr. Low did not perform this calculation, but did
note that Exxon documents show that oil and grease concentrations at the main outfall
were 181 ppm in 1947 and 44 ppm in 1964, but that the 1964 discharge concentration was
measured at the outfall after 20,000 gallons per minute of water from Black Duck Bay was
introduced to the effluent to dilute the contaminant concentrations at the discharge point.
This change was made in 1950 so the 1951 data cited by Exxon in this proposed finding
measure concentrations after this dilution. The impact of doubling the volume of effluent
just prior to the ultimate discharge point was to effectively reduce by half the contaminant
concentrations at the outfall, producing a concentration of about 88 ppm before dilution as
the more appropriate measure of the impacts of the improvements cited by Exxon. U.S.
Ex. 24, Matthew Low Expert Report 14 n.18, 19 (Aug. 2012).

        Mr. Low has stated that “while these improvements in effluent discharges from the
refinery may be related to future costs associated with contamination in water bodies in
proximity to the refinery outfalls, they do not correlate with the units for which past costs
are being claimed, which are upstream of the outfalls and may even have been
overshadowed by the fact that certain improvements [in effluent concentrations] resulted
in the generation of greater amounts of solids and sludge.” Id. at 14, & n.20. An additional
change after 1964 was to add three aeration basins and a biological treatment lagoon prior
to discharge of effluent and downstream of sludge impoundments and other waste units
and groundwater plumes claimed by Exxon. Mr. Low stated that “these changes would not
have impacted the costs incurred by Exxon to remediate the Separators and Outfall
Canals.” Id. at 14 n.20.

        18.      The second source of historical information relied upon by Mr. Low for his
 third “alternative surrogate at Baytown”, Govt. Memo. at 57 n.31, was a 1964 Humble
 engineering report. However, this 1964 report specifically indicated that the refinery achieved
 a 90% reduction in the oil content in the wastewater by installation and operation of the
 three new preseparators during the 1950s and even prior to the wastewaters undergoing
 additional treatment in the refinery’s main separator - Separator 10. PF ¶ 403.

DISPUTED. See U.S. Resp. to Exxon Opp. PF ¶ 17. Additionally, the 1964 report cited by
Exxon does not indicate that “the refinery achieved a 90% reduction in the oil content in


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the wastewater by installation and operation of the three new separators during the 1950s .
. . .” As stated by U.S. expert Matthew Low,

       That reference states:
       The pre-separators remove the oil that can be easily separated: they are
       covered to prevent loss of low boiling hydrocarbons into the atmosphere.
       Approximately 90 percent of the oil in the waste water is removed at the
       pre-separators. This materially reduces the oil lost by evaporations on the
       master separator.

U.S. Ex. 22, Matthew Low Supplemental Expert Report 33-34 (Jan. 2017) (citing U.S. Ex.
282, BAYC-00013637 at 13644 and adding emphasis).

Mr. Low explained that

       [t]he import of this is that oil, which previously was being lost to
       evaporation in the master separator, was now being recovered at the
       covered pre-separators. But because the oil recovered in the pre-
       separators was the easily separated oil and would have otherwise
       evaporated, it is unlikely that it would have been in tanks or pipelines in
       the dock areas or tank farms where the four plume areas are located.

Id. at 34. In addition, according to Exxon’s own expert, Peter Gagnon, “if there was
evaporation or volatilization of hydrocarbons, then they could not have contributed to
contamination in the soil or groundwater.” U.S. Ex. 32, Peter Gagnon Dep. 266:17-20;
271:13-16 (Apr. 11, 2013).

        19.      According to expert Mr. Kipp, the operation of the FCC units generated
“much more toxic and environmentally persistent wastes throughout the refinery – thereby
increasing remediation costs.” Ex. 2, Att. B, Kipp 2016 Rpt. at 14. Mr. Kipp further
explained that “[u]nlike modern refineries, FCC units urgently developed to meet wartime
needs did not have effective means of separating the very fine catalysts from the heavy oil
that was created by severe cracking. The result was a viscous slurry oil comprised largely of
toxic, environmentally persistent PAHs [i.e., petroleum aromatic hydrocarbons] mixed with
clay catalyst, for which the only technical recourse in WWII was land disposal. This result
was necessarily required by Government production demands.” PF ¶ 362.

DISPUTED. See U.S. Resp. to Exxon PF ¶¶ 118, 362-64, 372.

        20.     The State of Texas specifically established the FOA program in order to
 help industrial facilities, such as the Baytown Facility, implement required environmental
 response actions in a much more cost-effective manner; cleanups under the Texas program
 can now be done much more efficiently than ever before. A010431–A010434.

 DISPUTED. In its January 2010 regulatory guidance document, the Texas Commission
 on Environmental Quality (TCEQ) identified a number of benefits that a FOA offers to a
 petroleum refinery or chemical plant. A010431-32. None of those benefits included cost-
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 effectiveness. The potential benefits of the FOA process “may” include more efficient
 final response actions by deferring completion of Texas Risk Reduction Program
 Remedy Standards A or B until the “end of active manufacturing operations.” A010434.

        21.   The cleanup/closure plan for Separator 10 at Baytown specified that Exxon
 must “remov[e] any remaining contaminated soil from the bottom to a predetermined
 background level.” A003651.

PARTIALLY DISPUTED. Not disputed that the excerpted portion of the report is
accurately quoted. The United States disputes the statement to the extent that it does not
adequately characterize the objectives of Exxon’s closure of Separator 10 and its approach
used in achieving those objectives. Exxon’s January 1985 closure plan for Separator 10
from which the above quote was taken had two objectives: 1) to minimize the need for
further facility maintenance; and 2) to prevent any post-closure release of hazardous
constituents to the environment. To accomplish these objectives, Exxon stated that it
“intends to close the basin by removing any remaining contaminated soil from the bottom to
a predetermined background level.” A003651 (emphasis added). Exxon was closing
Separator 10, which contained hazardous sludges, to ensure compliance with RCRA
interim status regulations. Under RCRA (and state regulations flowing from it), closure of
hazardous waste units include two options: (1) “clean closure” with no need for further
groundwater monitoring; or (2) closure as landfill with ongoing maintenance and
monitoring. U.S. Ex. 27, Alborz Wozniak Expert Report 49 (Feb. 2017). In the case of
Separator 10, Exxon chose to “clean close,” which necessitated the excavation of sludge
from Separator 10 and any soils at or beneath the bottom of the separator to background
levels to ensure that “clean closure” had been achieved.

        22.    The cleanup/closure plan for the South Landfarm at Baytown specified that
 the purpose of the plan was to “ensure that all hazardous wastes present in the [South
 Landfarm] will be contained to the extent necessary to protect human health and the
 environment[.]” A003627.

PARTIALLY DISPUTED. Not disputed that the excerpted portion of the report is
accurately quoted. The United States disputes the statement to the extent that it does not
adequately characterize the objectives of Exxon’s closure of the South Landfarm. Exxon’s
January 1985 closure plan for the South Landfarm, from which the above quote was taken,
had two objectives, not one as implied by Exxon’s Opp. PF ¶ 22: 1) “to ensure that all
hazardous wastes present in the SLF will be contained to the extent necessary to protect
human health and the environment” and 2) “to minimize[] the need for further
maintenance.” A003627.

        23.     The South Landfarm cleanup/closure report discusses two different
alternative caps that could be utilized. A003630.

PARTIALLY DISPUTED. The United States does not dispute that the January 1985
closure plan discusses two alternative caps (i.e., a 4-foot clay cap versus a 3-foot cap of
compacted cement modified calcium sulphate). A003630. The United States disputes the

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implication that the two sentences in that closure plan describing the calcium sulphate cap
constitute an adequate evaluation of possible corrective action alternatives in sufficient
detail to meet NCP requirements for completion of a feasibility study. 40 C.F.R. §
300.68(f)-(g) (1986).

       24.   When the State of Texas approved the cleanup/closure plans for Separator 3M and
10 at Baytown, it modified the procedure by which background concentrations would be
determined. A004106-A004107.

PARTIALLY DISPUTED. The United States disputes this statement to the extent that it
does not adequately characterize the modifications that the State of Texas made to the
procedure for determining background concentrations at Separator 3M and 10. In its
September 25, 1985 letter to Exxon approving Exxon’s closure plans for these two
separators, the Texas Water Commission stated that Exxon would need to collect a
minimum of four soil samples for each area of approximately 0.5 acre, A004106-07, rather
than the three samples from locations around each separator basin proposed in Exxon’s
January 1985 closure plans for the two separators, A003658, A003686.

        25.       In the early 1990s Exxon submitted proposed plans to the State of Texas
to address the Upper Outfall Canal, Lower Outfall Canal, and Velasco Street Ditch at
Baytown; although the state environmental agency ultimately approved the work, the State of
Texas first made several specific directives to Exxon to change the proposed plans,
including the requirement to bolster run-off controls and maximize the effectiveness of the
liners to be utilized at these units. A005288, A010325.

PARTIALLY DISPUTED. The United States does not dispute that the June 27, 1993
Texas Water Commission letter required Exxon to bolster run-off controls and maximize
the liner effectiveness in the Upper Outfall Canal, Lower Outfall Canal, and Velasco Street
Ditch. The United States disputes the implication that these directives indicate that an
evaluation of alternative cleanout approaches was conducted by Exxon with regard to the
Velasco Street Ditch as required by the 1990 NCP regulations (40 C.F.R. § 300.430). There
is no documentation indicating that Exxon undertook studies to evaluate alternative
approaches for the closure of the Velasco Street Ditch.

         26.      Exxon issued public notice of the proposed response actions related to the
Upper Outfall Canal, Lower Outfall Canal, and Velasco Street Ditch, and “followed all of
the public notice and meeting requirements” related to modifying its permit to undertake the
activities at the Canals and the Velasco Street Ditch in the early 1990s. A005599.

PARTIALLY DISPUTED. The United States does not dispute that an undated internal
Exxon list recommended answers to possible questions from the Texas Natural Resources
Conservation Commission contained the above proposed response to a question regarding
public comment regarding the Upper Outfall Canal (UOC) and Lower Outfall Canal
(LOC) closure plans. The United States disputes the implication that this quote is sufficient
evidence that Exxon in fact conducted meaningful, early and continuous public
participation as required by the 1990 NCP regulations (Sections 300.155, 300.430(c),

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300.430(f)(2), (3) and (6), and 300.435(c)) in either the Outfall Canals or the Velasco Street
Ditch. To do so for the Outfall Canals, Exxon would have needed to conduct a number of
activities early in the UOC/LOC closure planning process (e.g., prepare a community
relations plan) and inform the public throughout the closure evaluation options (such as
the decision to delay closure) by activities such as issuing fact sheets. Exxon would have
also needed to solicit public input on its final closure plans and ongoing post-closure
activities. The only opportunity provided by Exxon for public participation was public
notice and a public meeting in October 1991 following Exxon’s filing of a RCRA permit
modification regarding UOC and LOC cleanup. This public meeting occurred three years
prior to the completion of Exxon’s sludge characterization and cleanout reports for these
two canals. A005596-A005597. With regard to the Velasco Street Ditch, the document
cited by Exxon provides no evidence of any public participation for the cleanout of sludge
from the Velasco Street Ditch. In fact, none of the documents provided by Exxon suggest
that it ever solicited any public input regarding its response actions related to the Velasco
Street Ditch.

       27.      At Baton Rouge, the State of Louisiana provisionally approved plans related
to response activities at the Old Silt Pond and Rice Paddy Landfarm, subject to a “thirty (30)
period to allow public comment[.]” A008479.

Not Disputed.

       28.      The Government’s cost substantiation expert, Mr. Alborz Wozniak, admitted
in his deposition that he has not considered the case law in rendering his opinions. A010440.

DISPUTED. As an initial matter, Mr. Wozniak was not designated as a cost
substantiation expert. The United States also disputes the statement because it
mischaracterizes Mr. Wozniak’s deposition testimony. In that testimony, Mr. Wozniak
stated that he had not been asked to consider case law by the government and that
furthermore to do so would have been inappropriate because “I feel that that’s stepping into
a legal arena, and I’m not a lawyer.” A010440 (302:10-12).

       29.     Mr. Wozniak also admitted that he was not sure if he reviewed certain
CERCLA- related guidance, including specifically the “RCRA-CERCLA Parity Guidance”
(previously produced as Exhibit 17). A010438.

DISPUTED. The United States disputes the statement because it mischaracterizes Mr.
Wozniak’s deposition testimony. In that testimony, Mr. Wozniak stated the RCRA-
CERCLA Parity Guidance’ document “is familiar to me.” A010438 (272:13).

       30.     Mr. Wozniak testified that he believed that the presence of an “immediate
threat has become the important distinguishing factor between when a removal authority
may be appropriate or a remedial action may be appropriate.” A010437.

Not Disputed.

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       31.      Mr. Wozniak further testified that whether comments were actually received
in prior opportunities for public comment was not a relevant fact in determining whether
and to what extent public participation opportunities should continue. A010436.

PARTIALLY DISPUTED. The United States disputes the statement to the extent that it
mischaracterizes Mr. Wozniak’s deposition testimony on this matter. In his testimony, Mr.
Wozniak stated that the absence of public comment in and of itself does not mean that
public participation requirements had been met. The effectiveness of public participation
efforts “depends on the circumstances of how, say, effectively the information was
disseminated, if the information was -- the availability of a document to comment on was
published in a way where the public had no idea that there was even an activity going on
nearby, they may not be aware of it even to comment on it. So the absence of comments by
itself without understanding the larger scenario doesn't necessarily inform me as to whether
the public, in fact, is interested and has something to share.” A010436 (59:4-15).
        32.     The NACC lawsuit was filed on July 28, 1995. A010442.

Not Disputed.

       33.    On February 17, 1999, an Exxon employee named Dick Cureton testified that
he was the business manager for the NACC group, which developed the NACC damages
database. Govt. Ex. 28, Cureton Dep. 54-59.

PARTIALLY DISPUTED. The United States does not dispute this fact, but notes Mr.
Cureton’s testimony was that the NACC damages database was developed by a subgroup
within Exxon’s legal department for purposes of litigation. U.S. Ex. 28, Dick Cureton Dep.
Vol. I 58–59 (Feb. 17, 1999).

       34.    Dick Cureton further testified that as of the date of his testimony (February
17, 1999), the NACC database contained all of the environmental costs for 1997. Govt.
Ex. 28, Cureton Dep. 40, 112.

PARTIALLY DISPUTED. The United States does not dispute that, as of February 17,
1999, the NACC damages database contained all of Exxon’s environmental costs for 1997.
But the United States notes that Mr. Cureton also testified that Exxon was continuing to
update the database and Exxon was conducting ongoing work to make the database more
accurate. U.S. Ex. 28, Cureton Dep. Vol. I at 76. In other words, the database was not a
static creation as of January 1, 1998 (and it is unlikely Exxon would have entered all 1997
costs into the database before January 1, 1998). Id.




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                                 Respectfully submitted,
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